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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

vs. . 3:23-CR-149-2

DAMIEN BOLAND, : Wy KeLED
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: Bar
Defendant Pep My 4 2» wRe

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AND NOW, this IZ day of June, 2023, the within named Defendant,
DAMIEN BOLAND, having been arraigned in open Court, hereby pleads

NOT GUILTY to the within Indictment.

CPE

~ Defendant

